                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                No. CR01-2040-LRR
 vs.
                                                                  ORDER
 KENNETH EUGENE POOL,


                 Defendant.

                              ____________________________


         This matter comes before the court on the defendant’s motion pursuant to rule
60(b)(6) of the federal rules of civil procedure (Docket No. 95). The defendant filed such
motion on December 12, 2006. The government did not file a resistance.
         In his motion pursuant to rule 60(b)(6) of the federal rules of civil procedure, the
defendant challenges the validity of the sentence that the court imposed. The challenge
asserted is the type of challenge properly submitted as a motion to vacate, set aside or
correct sentence pursuant to 28 U.S.C. § 2255.        See United States v. Lurie, 207 F.3d
1075, 1077 (8th Cir. 2000) (stating that a “challenge to a federal conviction [. . .] is most
appropriately brought as a motion under 28 U.S.C. § 2255”). A motion pursuant to
Federal Rule of Civil Procedure 60(b) may not be used as a substitute for a motion
pursuant to 28 U.S.C. § 2255. The defendant should have relied upon 28 U.S.C. § 2255,
rather than Federal Rule of Civil Procedure 60(b), to invoke the jurisdiction of the court.
In sum, the court concludes that granting relief pursuant to Federal Rule of Civil Procedure
60(b)(6) is not proper. Accordingly, the defendant’s motion pursuant to rule




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60(b)(6) of the federal rules of civil procedure (Docket No. 95) is denied.


      IT IS SO ORDERED.
      DATED this 8th day of January, 2007.




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